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Entered: December 16th, 2022
Signed: December 14th, 2022

SO ORDERED




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Baltimore
                                   In re:    Case No.: 22−16821 − DER        Chapter: 13

Richard Anthony Costanza
Debtor

                                        ORDER CONFIRMING
                                THAT NO AUTOMATIC STAY IS IN EFFECT

Upon the request of a party in interest pursuant to 11 U.S.C. §§ 362(j) and 362(c)(4)(A)(ii), it is, by the United States
Bankruptcy Court for the District of Maryland,

ORDERED, that, by operation of 11 U.S.C. § 362(c)(4)(A)(i), there is no automatic stay under 11 U.S.C. § 362(a) in
effect.


cc:   Debtor
      Attorney for Debtor − PRO SE
      Case Trustee − Brian A. Tucci
      All Creditors

                                                    End of Order
37x07b (rev. 04/04/2006) − LisaLAAlexander
